                         No. 23-4509
        IN THE UNITED STATES COURT OF APPEALS
                FOR THE FOURTH CIRCUIT


              UNITED STATES OF AMERICA,
                Plaintiff-Appellee-Cross-Appellant,
                                v.

               RUSSELL LUCIUS LAFFITTE,
               Defendant-Appellant-Cross-Appellee.

      On Appeal from the United States District Court for the
       District of South Carolina, No. 9:22-cr-00658-RMG-1


CORRECTED REDACTED OPENING BRIEF OF APPELLANT

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               JURISDICTIONAL STATEMENT
     The district court had jurisdiction over this criminal prosecution

under 18 U.S.C. § 3231, and this Court has jurisdiction now. The district

court entered a final judgment on August 2, 2023, documenting the con-

viction and sentence of the appellant, Russell Lucius Laffitte. JA2640.

That judgment was an appealable final decision under 28 U.S.C. § 1291

because it disposed of all the counts from the Second Superseding Indict-

ment. Laffitte filed a notice of appeal on August 8, 2023, within the 14-

day window provided by Federal Rule of Appellate Procedure 4(b)(1)(a)(i).

JA2652.




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                      NOTE ON REDACTIONS
        The district court sealed many of the record documents that are sig-

nificant to this appeal. They include documents whose consideration is

indisputably proper, such as notes that jurors sent during deliberations

and a transcript of the district court’s in camera interview of a juror. But

they also include juror affidavits whose admissibility is a matter of dis-

pute.



                                           . In accordance with Local Rule

25(c)(3), Laffitte is filing a sealed version of this brief highlighting the

first type of sealed materials in yellow and the second type in blue. The

public version redacts these materials entirely.




                                      2
                          INTRODUCTION
     This appeal arises from an extraordinary criminal case in which the

district judge’s actions during jury deliberations created a fundamental

defect in the trial and violated an innocent defendant’s basic rights.

     Russell Laffitte was one of many people who were caught in the web

of deception weaved by Alex Murdaugh—a lawyer from Hampton, South

Carolina, who eventually was convicted of murdering his wife and son

and now has admitted to stealing millions from his clients. Before these

horrific acts were known, Murdaugh was a respected community member

and customer of the local bank where Laffitte was CEO. As Laffitte did

with many others in this rural community, he extended Murdaugh loans,

made deposits for him, and helped disburse his checks, not knowing Mur-

daugh was using some of these transactions to effectuate theft and fraud.

Laffitte was indicted on federal charges, based on circumstantial evi-

dence alone. At his nine-day trial, Laffitte testified that he was innocent,

explaining that he did “not know in any way” that he was “helping facil-

itate the theft by Alex Murdaugh.” JA1862-1863.

     The jury began deliberating on the morning of November 22, 2022,

the last day the courthouse was scheduled to be open before a three-day


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Thanksgiving holiday. After the jurors had been deliberating for more

than nine hours, at approximately 7:43 p.m., the judge revealed that he

had received notes from jurors. The judge did not provide copies of the

notes to the parties or disclose their full contents, but even the portions

he read described a jury room that was toxic and a jury that was dead-

locked.

     One juror wrote that she needed an antibiotic and then, in a subse-

quent note, indicated that she was “[f]eeling pressured to change my

vote.” JA2271. The judge summarily rejected Laffitte’s proposal to re-

spond to those issues by adjourning until the next morning.

     After receiving a third note from several jurors expressing concern

about deliberations, the judge then received a fourth note from another

juror, who asked to be removed because she was “experiencing anxiety

and unable to clearly make my decision.” JA2273. Laffitte and the Gov-

ernment assented to the judge’s suggestion that they authorize him to

privately interview jurors outside their presence.




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     At that point, the law required the district court to fully inform

Laffitte what this juror had said, to allow Laffitte’s attorneys to offer sug-

gestions as to the appropriate response, and to afford them an oppor-

tunity to object to any action the judge proposed to take. Instead, the

judge concluded his three-minute private interview of this juror by sum-

marily replacing her with an alternate—outside Laffitte’s presence, with-

out conferring with his attorneys, and over his objection when he eventu-

ally learned what had transpired. The judge also summarily replaced the

first juror, who had written the notes saying she needed an antibiotic and

was feeling “pressured to change [her] vote,” also outside Laffitte’s pres-

ence, and without even meeting or talking with her. JA2271.

     After deliberating for less than 50 minutes, the newly constituted

jury reached a guilty verdict on all counts, making clear that during the

previous nine hours the two replaced jurors had been casting votes to

acquit. Their replacement by the judge deprived Laffitte of rights essen-

tial to criminal-justice proceedings: the right to an impartial and unani-

mous jury, and the right to be present with counsel at every stage. For

these reasons and others discussed below, this Court should reverse.




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                      ISSUES PRESENTED
     I. “Anxiety                                   juror. Did the district

court err in replacing Juror #88, outside the presence of Laffitte and over

his objection, after she told the judge she had asked to be dismissed be-

cause she felt anxious                                               ?

     II. “Antibiotic/pressured to change my vote” juror. Did the

district court err in replacing Juror #93, with whom the judge did not

speak, after receiving notes saying she “[n]eed[ed]” an “antibiotic”




                                                           ?

     III. Witness bias. Did the district court err in refusing to admit

evidence that bank board members who testified that they were critical

of Laffitte were biased because Laffitte opposed selling the bank?

     IV. Insufficient evidence of fraud. Did the district court err in

denying Laffitte’s motion for judgment as a matter of law on Count 2 for

bank fraud and Count 3 for wire fraud due to the lack of evidence that

Laffitte made false or fraudulent statements or utilized fraudulent de-

vices in connection with the transactions?


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                  STATEMENT OF THE CASE
I.   Statement of Facts
     The Second Superseding Indictment asserted six counts: three al-

leging that Laffitte was complicit in Murdaugh’s thefts of client funds;

and three alleging that, in transactions involving Murdaugh, Laffitte

willfully misapplied funds belonging to the bank. JA37-43. The trial that

resulted in a deadlocked jury spanned 9 days, more than 2,100 transcript

pages, and more than 300 exhibits. The facts most pertinent to the appeal

are below.


A.   Laffitte and the bank had a longstanding relationship with
     Murdaugh and his firm

     Palmetto State Bank is a Laffitte family business and a type of fi-

nancial institution commonly referred to as a “community bank.” JA590.

The bank’s current CEO, a Government witness, testified that a commu-

nity bank “differs in concept from a large national bank.” JA590. “The

best way to characterize it” is as a “Main Street bank.” JA590. These

banks “raise deposits in the” communities where they “have offices” and

turn those deposits “around and make loans to individuals and small




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businesses in those communities.” JA590-591. More than national banks

do, they focus on “relationship banking one-on-one.” JA591.

     Until the fall of 2021, one of Palmetto State Bank’s most important

one-on-one relationships was with Alex Murdaugh. Before that Septem-

ber, “everyone thought Alex Murdaugh was one of Hampton County’s fin-

est citizens.” JA695. Murdaugh’s grandfather and father had both served

as Circuit Solicitor, and he had been an Assistant Solicitor. JA697-698.

Murdaugh was one of the “mid to higher earners” at a local personal-

injury firm, and the firm and Murdaugh were among the bank’s most

significant customers. JA1666-1667. A firm partner stated that “there

couldn’t be a better banking relationship” than the one he had with

Laffitte. JA790.

     Although Laffitte did not “run in the same social circles” as Mur-

daugh, he was Murdaugh’s “primary contact” when he “had a banking

need.” JA446; JA623. The relationship “[s]eemed to work well.” JA623.

Murdaugh often earned “over a million dollars” annually, but because the

firm deferred most compensation until “between Christmas and New

Year’s,” he frequently bridged the gap by taking out loans. JA455; JA542.

One bank board member testified that Murdaugh “paid us over $4 million



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in interest” on these loans over the years, making it worthwhile to give

him “a little leeway” when he “overdraft[ed]” his account. JA1666;

JA1669. “[T]hat’s what a community bank does,” she explained: “we work

with our people.” JA1669.


B.   Laffitte served as fiduciary to several Murdaugh clients

     With their one-on-one relationship working so well, Laffitte

agreed—in an effort “to help my friend, my customer”—to serve some of

Murdaugh’s clients in a fiduciary capacity. JA1855. Laffitte obtained the

bank chairman’s blessing to perform these functions “outside of the bank”

because it “didn’t have a trust department.” JA1854.

     On that understanding, Laffitte served as conservator or personal

representative in three Murdaugh cases that are relevant here. First, he

served as conservator for Alania and Hannah Plyler, two children for

whom Murdaugh obtained a multi-million-dollar recovery after an auto-

mobile accident. JA458-467. Second, he was personal representative for

the estate of Donna Badger, who died in an automobile accident in which

her husband Arthur, also a Murdaugh client, was injured. JA488-489.

Third, he was conservator for Hakeem Pinckney and Natasha Thomas,




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two other Murdaugh clients injured in an automobile accident. JA2873-

2879.

        As conservator, Laffitte was appointed by the probate court to safe-

guard and invest recoveries obtained by Murdaugh clients who were in-

capacitated or had not reached the age of majority. JA782. His compen-

sation was “based on what the Court determine[d] to be reasonable.”

JA1769. That amount was $60,000 for Pinckney, $15,000 for Thomas,

and over $200,000 for the Plylers. JA1328; JA2873-2878. He also received

what the law firm labeled a “Personal Representative Fee” of $35,000

when Arthur Badger settled his case. JA2886; JA3137. But that was a

mistake due to the law firm’s court filings listing the fee “in the wrong

place.” JA2005. Laffitte was personal representative for the estate of

Badger’s deceased wife Donna, but did not have a fiduciary relationship

with Badger himself. JA1889.

        One expert witness called by the defense, a former probate judge,

testified that conservators can generate interest income for their wards

by “loan[ing] money from” their accounts. JA1774. South Carolina law

allows conservators to “borrow[] money” themselves “from the assets of

[their] ward[s].” JA1777-1778. So after seeking guidance from the local



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probate judge that the practice was permissible, Laffitte made loans from

Hannah Plyler’s conservatorship account, to be paid back with interest,

to both Murdaugh and himself. JA507; JA534-535. The Government

specified during opening statement that the Second Superseding Indict-

ment did “not allege” that loans Laffitte extended from conservatorship

accounts “were illegal.” JA191.


C.   The law firm and Laffitte discovered Murdaugh’s thefts

     The indictment instead sought to tie Laffitte to Murdaugh’s misap-

propriations of client funds held by his law firm. In 2021, Murdaugh’s

firm discovered, in the words of one of his partners, that “he wasn’t who

we thought he was.” JA847. In “early September,” the firm’s CFO notified

Laffitte that Murdaugh had been “stealing funds” from his clients—from

Arthur Badger, in particular—and that the firm had terminated him as

a result. JA495-496.

     Laffitte’s response, in the CFO’s words, was “disbelief,” and he

agreed to help her determine the extent of Murdaugh’s theft. JA499-503.

She needed his assistance because, while she “could see” that the checks

Murdaugh had drawn from Badger’s funds at the law firm “were written




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to Palmetto State Bank,” she could not determine what subsequently

happened. JA503.

     When Laffitte reviewed the bank’s records, he became, as he told

the jurors, “nauseous, furious and every other emotion that you could im-

agine.” JA1894. The documents showed that eight years before, Mur-

daugh had deceitfully tricked him into sending an email concerning a

check that—unbeknownst to Laffitte—Murdaugh had drawn from

Badger’s funds.

     That sequence of events began when Murdaugh emailed Laffitte in

February 2013, asking him to email back a request that a $1.325 million

check issued by the firm “be re-cut” into four smaller checks, with one

being for “[w]hatever the amount I owe on Hannah [Plyler] loan.”

JA2933. Laffitte assumed Murdaugh was asking him to send that email

because “[t]here was no way” for Murdaugh himself to know the amount

of the loan payoff. JA2006. So Laffitte “emailed it to him,” calculating it

as $151,726.05 and asking Murdaugh to have the firm’s CFO “re-cut” the

check in the other amounts requested. JA2006; JA2932. Murdaugh then

forwarded Laffitte’s email to his firm administrators, who voided the pre-

vious check—which, Laffitte was unaware, was drawn from Badger’s



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funds—and wrote new ones, which Murdaugh signed and made payable

to “Palmetto State Bank.” JA529-531; JA2885-2888; JA2932; JA3297.

     Murdaugh then separately “brought in” three of those checks to the

bank and converted them to his own use. JA1895. He first delivered a

check for $75,000, asking that the funds be put into a money order to his

father. JA1895; JA2888. The next day, he delivered the $151,726.05

check and applied it to his Plyler loan. JA1895; JA2886-2887. About a

month later, he delivered a third check, for $388,687.50, which he used

to obtain a money order to his law partner. JA1895-1899; JA2888.

     The fourth and final check, which was for $709,586.45, was never

deposited by Murdaugh. His firm reversed it seven months later and is-

sued several smaller checks in its stead. JA3297. Murdaugh delivered

one for $101,369.49 to the bank in October 2013, and applied it to his

Plyler loan balance. JA2892-2893. The following January, he delivered

another check for $33,789.83, which he deposited into his personal ac-

count. JA2903-2904. Murdaugh deposited most of what remained of

Badger’s funds at various other times and had the bank distribute the

funds elsewhere. JA2889-2908.




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     Laffitte readily acknowledged that, based on his review of the rec-

ords, he helped with “every one of the transactions” involving the Badger

funds. JA1900. But he further testified that he did not know these funds

were stolen and “would not have been in any part of it if” he had known.

JA1901. He explained that he would “look at probably anywhere from 50

to 100” customer checks each day and that it would “not be unusual,” if

“you want to get a money order or make a loan payment or anything else,”

to “make the check to Palmetto State Bank” as Murdaugh’s firm had.

JA1899-1900. Although the first three checks had Badger’s name in the

memo line, Laffitte “wouldn’t have looked at” the line because it is not a

reference for the bank, but instead for “the writer of the check to remem-

ber what they wrote the check for.” JA1900. Laffitte also “didn’t notice”

that on the later checks—for $101,369.49 and $33,789.83—the firm had

written “Donna Badger estate” on the memo line. JA1906; JA2890-2892.

     Once it was apparent what Murdaugh had done, Laffitte concluded

that the bank had liability, and he “wanted to settle it.” JA1939. His per-

spective was that a “client that thought he had money at Palmetto State

Bank had lost money,” and “[w]e needed to make him right.” JA1941. The

bank’s bylaws by their terms gave him “full authority” as CEO “to execute



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on the Corporation’s behalf any and all contracts” and “agreements.”

JA2954. He contacted Murdaugh’s law firm, offered to cover $680,000,

and prepared a cashier’s check payable to the firm. JA1940-1943;

JA2872. He informed the bank’s “Executive Committee on the same day”

and “notified the Board the following morning.” JA1941; JA2867.

     A month later, the law firm’s CFO uncovered evidence that Mur-

daugh also had stolen money from Natasha Thomas and Hakeem Pinck-

ney. JA519-520. Much “like on Badger,” once Laffitte realized what Mur-

daugh had done to Thomas and Pinckney, he “wanted to throw up.”

JA1923. He had been conservator for those clients and had signed “dis-

tribution sheets,” which were court filings by the firm documenting

where their recoveries would go. JA2873-2881. But Laffitte explained

that when Murdaugh delivered checks to the bank in the amounts of

$325,000.00, $309,581.46, and $25,245.08, Laffitte did not “recognize

those were stolen funds.” JA1994. Laffitte believed that this “was the

start of the theft because” Murdaugh had written the checks “to Palmetto

State Bank knowing we wouldn’t recognize it.” JA1925. “If it came in”

payable to “Russell Laffitte as conservator,” he explained, “we wouldn’t

be sitting here today.” JA1925.



                                  15
     Laffitte again believed that the bank should “try to settle, just like”

it “had done” before. JA1923. But the day he was to bring the board a

settlement proposal, the bank received a “notice of intent to sue” that

pretermitted the discussion. JA1924.


D.   The bank made loans to Murdaugh through Laffitte

     While Laffitte was indicted on charges alleging that he was com-

plicit in Murdaugh’s thefts from those clients, Laffitte also was indicted

on separate charges that when he made two loans to Murdaugh, he had

misapplied bank funds.

     The first involved a $500,000 line of credit the board “voted to ap-

prove” in 2015. JA1957. Laffitte testified that Murdaugh had secured this

line of credit through mortgages on various pieces of farm property, and

the loan documents stated that the purpose was “farming.” JA1957-1958.

Murdaugh then immediately took advances on the line of credit, includ-

ing one for $284,787.52 to pay off a loan Laffitte had extended him from

Hannah Plyler’s conservatorship account. JA678; JA1953; JA3133-3136.

Laffitte testified that he “had no concerns” about the advances because

Murdaugh’s farm “was worth about $3 million.” JA1957.




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     The second of those loans was for $750,000, which Laffitte—along

with the board chairman and its secretary—approved in 2021, before any

allegations of Murdaugh’s misconduct were made. JA1936. The bank’s

documents stated that the loan’s purpose was for beach-house renova-

tions, and Laffitte mistakenly assumed that several checks Murdaugh

recently had written had gone to the contractor. JA1936. Laffitte testified

that he knew that the entire $750,000 was not “all going to the house,”

but that was not a problem because the “house was worth a lot more than

700,000” and the bank had taken “additional collateral” worth “about

230- to $250,000.” JA1936-1937.


E.   A divided board voted to terminate Laffitte

     These events eventually led to an internal bank investigation and

a board vote to remove Laffitte as CEO. Four board members, all rela-

tives of Laffitte and called by the Government, testified that they had

voted to terminate him in light of concerns about Murdaugh’s client

thefts, the $680,000 settlement payment, and the beach-house loan.

JA368; JA682-684; JA1092-1093; JA1164-1165. The three board mem-

bers who did not vote to remove Laffitte—his father, brother, and sister—

testified in his defense. JA1574.


                                    17
II.   Procedural History

      Laffitte was indicted six months later. JA7. A Second Superseding

Indictment alleged the six counts on which he was tried. JA28.

      The first three accused Laffitte of being a knowing and willing par-

ticipant in Murdaugh’s thefts. Count 1 alleged that Laffitte furthered a

conspiracy to commit bank and wire fraud by negotiating and distrib-

uting the $151,726.05 Badger check, the $309,581.46 Pinckney check,

and the $325,000 and $25,245.06 Thomas checks. JA37-38. Count 2 was

for bank fraud, alleging that Laffitte violated 18 U.S.C. § 1344(2) by ne-

gotiating and distributing the $101,369 Badger check. JA39. Count 3 was

for wire fraud, alleging that Laffitte violated 18 U.S.C. § 1343 by negoti-

ating and distributing the $33,789.83 Badger check. JA40.

      The remaining three counts alleged that Laffitte had knowingly

misapplied the bank’s funds in violation of 18 U.S.C. § 656. Count 4 al-

leged that he did so when he prepared the $680,000 check for the law

firm. JA41. Count 5 alleged that he did so when he initiated the $750,000

loan. JA42. Count 6 alleged that he did so when he extended Murdaugh

the $500,000 line of credit. JA43.




                                     18
A.   The district court precluded questioning about director
     bias and denied Laffitte’s motion for judgment of acquittal

     At trial, the district judge correctly instructed the jury that if

Laffitte had acted in good faith, he would have “a complete defense.”

JA2259. But the judge made several rulings before and during trial that

prejudiced Laffitte’s defense.

     The first, before trial, precluded Laffitte from calling Murdaugh to

the stand. JA335-336; JA3301-3303. At the time, Murdaugh had not been

indicted on federal charges, but he was awaiting trial on state charges

regarding the murder of his wife and son. Laffitte’s counsel informed the

district court that originally “Murdaugh was very willing to testify on

Russell’s behalf and say that he had nothing to do with this,” but “ulti-

mately reconsidered” and indicated that he would invoke his Fifth

Amendment privilege against self-incrimination. JA335-336. The district

court ruled that Laffitte could not call Murdaugh to the stand “strictly to

have him take the Fifth,” but stated that should Murdaugh “change his

mind and say he wasn’t invoking the Fifth,” then the situation would be

“completely different.” JA336.

     A second set of rulings precluded Laffitte from eliciting testimony

that board members the Government had called to testify were biased


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because they had disagreed with his position on whether to sell the bank.

When Laffitte’s counsel explained during the cross-examination of one

board member that this line of questioning went “to motive to testify,”

that witness said she was “happy to answer,” and the district judge said,

“Go right ahead.” JA1194. But when Laffitte attempted to ask similar

questions of his own witnesses and to introduce an email from the chair-

man about this issue, the judge ruled that “you can’t be impeaching with

extrinsic evidence” and that the testimony was “irrelevant” and could

confuse the jury. JA1556-1557; JA1561; JA1608-1609; JA1620-1623;

JA1674-1681; JA1684-1686; JA3300.

     Laffitte’s examination of the witnesses drew frequent objections

from the Government, which the district judge was quick to sustain. On

one occasion, the Government objected to questions on one ground, only

to have the judge sustain them on another. JA1033-1034. The judge in-

terrupted defense counsel’s cross-examination at another time to ask the

Government, “Do you have an objection?” and—when the Government

obliged—announced, “Sustained.” JA388. At other times, the judge inter-

rupted questions from defense counsel without any objection from the




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Government, interjecting, “sustained.” JA1574; JA1795. At one point the

judge told the Government, “You don’t even need to object.” JA435.

     The district court denied Laffitte’s motions for judgment of acquit-

tal at the close of the Government’s case and after the defense rested.

JA106; JA1467-1481; JA2067-2071.


B.   Problems arose during jury deliberations

     The jury began deliberating at 10:20 a.m. on Tuesday, November

22, which was the last day the courthouse was scheduled to be open that

week due to the Thanksgiving holiday. JA2266; JA2272. More than nine

hours later, at 7:43 p.m., the district judge indicated that he had received

notes from jurors. JA2270. While the judge read portions of those notes

to the parties, he did not read them in their entirety or make them avail-

able until after the verdict was rendered. JA3407.

     The judge said the first two notes were from the “same juror,” alt-

hough he said he had “no idea” who authored them. JA2272.




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     The judge recited from the first note: “Need antibiotic at 19:21. I

could delay one to two hours.” JA2271. By that point it was 22 minutes

after “19:21,” so the note appeared to have been sent earlier that evening.

     The judge then recited from the second note: “Feeling pressured to

change my vote.” JA2271.



     The judge stated that his “instinct” was “that we have alternates

and,” strikingly, that “we should get to a verdict”—by which he meant

that they should get to a verdict that night. JA2271. Without indicating

whether he or anyone on his staff had talked with the juror about making

arrangements to retrieve the antibiotic—and without indicating how he

knew her gender—the judge represented that it was “not practical to get

her medicine and drive back.” JA2271. While the Government “agree[d],”

Laffitte’s counsel asked, “Judge, can they just come back in the morning?”

JA2271.

     The judge did not immediately answer, but subsequently rejected

the suggestion. Saying nothing about the juror’s remark about feeling

“pressured,” the judge stated that “we don’t have an issue of them not

deliberating.” JA2271. He then said “the better course is -- that’s why we



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have alternates,” but he “want[ed] to hear” from the parties. JA2272. The

Government replied that “[e]specially with the impending holiday ahead

of us, we would like for them to continue to deliberate tonight.” JA2272.

The judge concurred, reasoning “if I tell people that they have to come

back tomorrow, I don’t think that’s in anybody’s interest.” JA2272.

     The judge then received a third note, which he said “raises an en-

tirely different issue.” JA2272. He began reading: “Dear Judge, we are

writing this to express a shared concern.” JA2272. He continued to read:

     On page 11, your final charge to us states that if you let fear
     or prejudice or bias or sympathy interfere with your thinking,
     there is a risk that you will not arrive at a true and just ver-
     dict. A juror’s previous court experience is influencing that ju-
     ror’s ability to discuss the trial in a group setting. That juror
     has made comments on having been bullied as a juror on pre-
     vious trials and will not consider the evidence in this trial.
     The juror is hostile to hearing any debate from certain other
     jurors, and the juror disagrees with your final charge and spe-
     cifically the definitions you’ve provided. We respectfully ask
     that you consider speaking to this issue so that we are able to
     proceed with deliberations.

JA2273 The judge told the parties that the note’s authors “[m]ay be all

the other jurors.” JA2273.




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     As the judge was reading the third note, he was handed a fourth.

JA2281. He recited that note as follows: “Your Honor, can you please call

an alternate as I am experiencing anxiety and unable to clearly make my

decision?” JA2273. “That’s a different juror,” the judge explained.

JA2273.




     Representing that he had “fully disclosed all my notes,” the judge

told the parties that, if a juror told him they were “unwilling to consider

the evidence because of prior court experience, I would remove the juror.”

JA2273-2274. He said he had “no idea if that’s the same juror as the one

who has written me about her medicine.” JA2274. The judge again solic-

ited “suggestions.” JA2274. The Government responded that “you need to

put two alternates to replace both of those jurors.” JA2274.

     After discussing the third note’s allegation that one juror would not

deliberate, the judge said his “inclination would be to speak to that juror.”

JA2276. The judge suggested that “the best way for me to do it is for me

and a court reporter and my deputy, just to create a record of this, and

simply ask the juror in a conference room, you know, is there a problem.”



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JA2276. “[I]f there’s not,” the judge stated, “I’m going to keep her delib-

erating.” JA2276.

     As to the juror who sent the first two notes—saying she needed the

antibiotic and felt “pressured to change my vote”—the judge stated, “I

think the one with the medicine we need to send home” because “[s]he

needs her medicine.” JA2277.

     “The person with the anxiety,” the judge added, “that’s a concern

for me too.” JA2277. The judge reasoned that “[t]he defendant’s rights

are protected by having 12 functioning jurors,” and it would be a problem

“having somebody who says I can’t do it anymore.” JA2277.

     “But,” the judge concluded, “I want to hear from everybody before I

make a decision, because I think we are on virgin territory.” JA2277. He

elaborated, “I’ve never had this experience.” JA2277.

     The Government responded that “we have three different situa-

tions.” JA2277. The one “with the medicine,” the Government posited,

“cannot risk someone’s health,” and “should be allowed to go home.”

JA2277. “The person who cannot follow the law,” the Government said,

should be “struck for cause.” JA2277. Turning to “the third one,” the “anx-

ious” juror, the Government said “your suggestion as far as speaking --



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speaking to the juror, finding out whatever, I think that’s still a viable

juror, the third one.” JA2278.

     Observing that “I don’t want anybody else ganging up on somebody

and trying to bump them off a jury,” the judge stated, “I’ve got to confirm”

whether one of the jurors was in fact not deliberating. JA2277-2278. The

judge explained that “I can’t rely on someone else’s account.” JA2279.

“[W]ith the consent of the parties,” the judge continued, “we are going to

set up a place where I will take a court reporter, and without anyone

present but the court reporter, I will create a record.” JA2279. “And,” the

judge concluded, “I will ask the juror if there’s a problem.” JA2279.

      The Government then “request[ed] that you maybe do the same

thing with the juror who’s reporting being anxious,” reasoning, “[t]his

sort of environment could be contributing to the anxiety that could be

alleviated depending on how you decide to handle the jurors.” JA2279.

The judge immediately responded, “Do I have the consent of the parties

for me creating a record to question the juror?” JA2279. The Government

stated, “Yes, as long as it’s on the record, we have no objection,” and

Laffitte’s counsel responded, “Yes, you do have the consent.” JA2279.




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     The judge stated, “I’m going to take action,” and left the courtroom.

JA2281. He did not directly address Laffitte or ask him whether he un-

derstood the process, his rights, or the court’s intentions.


C.   The judge interviewed Juror #88, who said she was anxious
                                                   and then sum-
     marily dismissed her outside Laffitte’s presence

     The record shows that from “8:20 p.m. to 8:23 p.m.” the district

judge conducted a three-minute in camera interview with the author of

the fourth note, Juror #88, who had asked the judge to call an alternate

because she was experiencing anxiety. JA2281.




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D.   The judge did not interview Juror #93, whose notes said she
     needed an antibiotic and felt “pressured to change my vote,”
     and then summarily dismissed her outside Laffitte’s pres-
     ence

     The judge did not meet with or talk to Juror #93, who had written

that she “[n]eed[ed] an antibiotic at 19:21” and was “[f]eeling pressured

to change my vote.” JA2281.




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E.   Less than 50 minutes after the district court replaced the
     jurors, the newly constituted jury voted to convict

     The district court reconvened at 8:27 p.m. JA2281. The judge first

reported that the “juror regarding the medicine” had “been replaced and

has been allowed to go home.” JA2281. The judge did not tell the parties

that he had not talked to her. The judge also said he “spoke with the juror

expressing anxiety” and “granted her request to -- for an alternate” be-

cause “she said, I cannot do my duties.” JA2281.




                                                                       The

judge stated that his dismissal of these jurors had “resolved” the issue

concerning the juror who allegedly would not deliberate, “so I didn’t have




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to address it.” JA2282. The judge did not indicate precisely how he knew

this issue had been resolved.

     The Government said, “Thank you,” but Laffitte’s counsel “ma[d]e

an objection.” JA2282-2283. Counsel stated that “we would object not to

the juror that was replaced for medication” because “[w]e agreed with

that at the time”—even though the record does not, in fact, reflect any

prior statement from counsel agreeing to the replacement of that juror.

JA2282-2283. Regardless, counsel stated, the “second juror that was re-

placed about the anxiety is the one we would like to take -- make an ob-

jection to.” JA2283.

     The district judge responded, “You can make an objection,” but

“[t]hat one -- and there’s a record -- she is emotionally very fragile” and

“could hardly speak to me.” JA2283. “And she explained to me,” the judge

continued, “she was on anxiety medication and that she was not physi-

cally capable or emotionally capable of going forward.” JA2283. The judge

represented that “[w]e never got into what’s going on in the jury room or

anything like that.” JA2283.




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           With that, the judge said, “Let’s bring the jury in.” JA2283.

        The record shows “the jury return[ing] to open court at 8:31 p.m.”

JA2283. The district court informed it “you’ve had some changes in your

ranks,” and “the requirement is that you need to begin your deliberations

again to bring your other two, the two jurors who have not been included,

into those discussions.” JA2283. The district court had the jurors “return

to the jury room” at 8:32. JA2283-2284. They reached a guilty verdict in

less than 50 minutes, returning to the courtroom at 9:22 p.m. JA2283-

2284.

        Before they came back, Laffitte’s counsel reiterated the “objection

earlier to swapping out the alternate.” JA2284. Laffitte’s counsel said “it’s

akin for moving to a mistrial,” and “object[ed] to replacement of one ju-

ror.” JA2284. The district judge answered, “we agreed I would talk to the

juror, who could hardly speak, she was so emotionally upset,” she “asked

me to remove her,” and “I was doing exactly what we all agreed I would

do.” JA2284-2285. Laffitte’s counsel responded, “We thought you were

coming back to tell us what the juror said or to give us what your decision

would be so that we could object to it.” JA2286. The judge replied, “You



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know, folks, to come in after the fact here, after the Court laid it all out

and we agreed on a process, I thought it was very clear, and I did -- but

there’s a record of her I don’t think anybody would really question.”

JA2286-2287.




F.   The district court denied Laffitte’s motions for new trial and
     judgment of acquittal

     Following the verdict, Laffitte filed a motion for new trial or judg-

ment of acquittal, arguing that it was “error to not provide an alternative

option apart from replacing” both Juror #88 and Juror #93. JA2299. The

motion also asked for a new trial based on the district court’s refusal to

admit the “evidence involving dissent and disagreement within the

Bank.” JA2316. The motion renewed the request for a judgment of ac-

quittal. JA2326. Laffitte filed a separate motion seeking an evidentiary

hearing “on the jury issues.” JA2336.

     After the Government responded, new counsel for Laffitte ap-

peared, filing a sealed reply and supplement                               .




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JA21; JA3329-3355.




     The district court denied these motions without a hearing. JA2396.

It held that Laffitte had “agreed to the process used by the Court to ques-

tion Juror No. 88,” the one who had expressed anxiety, “and to take action

on the request of the juror to be replaced.” JA2410. The district court also

ruled that Laffitte had further “agreed” that Juror #93, who had written

that she needed an antibiotic, “should be replaced.” JA2408. The district

court reaffirmed its other rulings as well. JA2421-2437.


G.   The district court declined to consider the juror affidavits

     Laffitte’s original counsel also had separately filed, two weeks after

their motion for new trial, a request to seal affidavits executed by Juror

#88, Juror #93, and the jury foreperson. JA2328-2332; JA2393; JA3356-

3369. Laffitte also requested a hearing on these issues



        . JA2336; JA3423-3428.




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H.   The district court denied Laffitte’s second motion for new
     trial

     Murdaugh eventually waived his Fifth Amendment privilege at his

murder trial in state court. His testimony absolved Laffitte of blame for

the charges in this case:

     Russell Laffitte never conspired with me to do anything.
     Whatever was done was done by me. . . . And I know, but you
     keep talking about stuff I did with Russell Laffitte, but what
     I want to let you know is that I did this and I am the one that
     took people’s money that I shouldn’t have taken and that Rus-
     sell Laffitte was not involved in helping me do that know-
     ingly. . . . If he did it, he did it without knowing it.



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JA2449-2447. Laffitte filed a motion with the district court, arguing that

this testimony was newly discovered evidence warranting a new trial.

JA2438. The district court denied the motion without a hearing, reason-

ing that, even though Murdaugh’s previous invocation of the Fifth

Amendment privilege had precluded Laffitte from calling him in his de-

fense, the new testimony could not warrant a new trial because “[i]t is

difficult to imagine a less credible witness” than Murdaugh. JA2484.


I.   The district court imposed a seven-year sentence

     After a sentencing hearing, the district court imposed a sentence of

84 months imprisonment and 5 years of supervised release as to each

count, “said terms to run concurrently.” JA2641.

III. Rulings Presented for Review
     The four issues in this appeal present the following erroneous rul-

ings for this Court’s review:

     I.    The district court’s dismissal, outside of Laffitte’s presence, of

Juror #88, who said she was anxious

          (JA3311); its failure to sustain Laffitte’s objection once he

learned of the dismissal (JA2282-2283); its failure to declare a mistrial




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(JA2284-2287); its denial of a new trial on this issue (JA2408-2415)

                                                     .

     II.   The district court’s dismissal, outside of Laffitte’s presence, of

Juror #93, who said she needed an antibiotic (JA2281)

                                   ; its denial of a new trial on this issue

(JA2407-2415)                                                        .

     III. The district court’s sustaining of the Government’s objections

to evidence of board-member disagreements (JA1556-1557; JA1561;

JA1608-1609; JA1620-1623; JA1674-1681; JA1684-1686); and its denial

of a new trial on this issue (JA2419-2422).

     IV. The district court’s denials of Laffitte’s motions for judgment of

acquittal on Counts 2 and 3 (JA1467-1481; JA2067-2071; JA2429-2433).




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               SUMMARY OF THE ARGUMENT
     I. The district court erred in replacing Juror #88, who reported

anxiety                                                  and a reversal on

all counts must follow.

     A. The replacement of Juror #88 violated Laffitte’s Fifth Amend-

ment right to be present at all critical stages of trial. The district judge

obtained the parties’ consent only to interview Juror #88 outside their

presence, not to replace her.




     B. The replacement of Juror #88 separately violated Laffitte’s Sixth

Amendment right to a unanimous jury, which precludes courts from

granting deliberating jurors’ requests to be replaced if the record dis-

closes a substantial possibility that they are asking due to their views of

the merits.




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The quick verdict that followed makes the prejudice to Laffitte clear.

     II. The district court also committed reversible error in replacing

Juror #93, who reported needing an antibiotic and feeling “pressured to

change my vote.” The statement from Laffitte’s counsel that “[w]e agreed

with that at the time” was—in addition to being after-the-fact and un-

supported by anything counsel had said—not a knowing and intelligent

act. It correspondingly was not a valid waiver of Laffitte’s rights.




     B. Because her dismissal was unwarranted and there was no valid

consent on Laffitte’s part, the replacement of this juror outside his pres-




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ence was plain Fifth Amendment error. It also was plain Sixth Amend-

ment error because her statement that she felt “pressured to change my

vote” created more than a reasonable possibility that she had reached out

to the district court due to other jurors’ reactions to her decision. These

circumstances and the verdict seriously affected these proceedings’ fair-

ness, integrity, and public reputation.

     III. A new trial also is required because the district court errone-

ously precluded Laffitte from introducing evidence that bank board mem-

bers had voted to terminate him because he did not want to sell the bank.

It is axiomatic that a defendant may introduce extrinsic evidence to es-

tablish bias on the government witnesses’ part. It also is axiomatic that

this sort of evidence is relevant in a criminal prosecution.

     IV. Finally, the district court erred in denying Laffitte’s motion for

judgment of acquittal on Counts 2 and 3. Both counts required the Gov-

ernment to establish that Laffitte had obtained property by means of a

false statement or other fraudulent device. For the transactions those

counts addressed, the Government offered no evidence that Laffitte did

anything that amounted to fraud.




                                    41
                             ARGUMENT
     A court’s holiday schedule cannot justify an intrusion on a criminal

defendant’s constitutional rights, and the events leading up to this ver-

dict marked a serious injustice. The jurors heard Laffitte testify to his

innocence over the course of two days, and they began deliberating on the

morning of November 22. They deliberated late into the evening without

reaching a verdict. The notes the district court then received describing

the “pressure[]” one juror felt to change her vote, and its in camera inter-

view of the juror who expressed anxiety

              set off alarm bells that something was seriously awry in the

jury room.

     But rather than address those issues, the district judge said his “in-

stinct” was to find a way to “get to a verdict” that night. JA2271. An ap-

propriate response would have been to instruct all the jurors to treat each

other with respect. And in light of what was at stake for Laffitte, an es-

pecially appropriate response would have been to advise the jurors that

they could, as Laffitte’s counsel had suggested, “just come back in the

morning” and resume deliberations after a night’s rest. JA2271.




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     Instead, without notice to Laffitte and his attorneys and outside

their presence, the judge removed both jurors. That facilitated rapid-fire

guilty verdicts on all six counts, in less than 50 minutes. This action by

the district court was the capstone on a trial that had been fundamentally

unfair to an innocent defendant. The result should not be allowed to

stand.

I.   The district court erred when it replaced Juror #88,
     who reported suffering anxiety


     While the district court’s removal of both jurors was error, its dis-

missal of Juror #88, who said she was experiencing anxiety

                                   is reason enough, by itself, to reverse.

Federal Rule of Criminal Procedure 24(c) gives a trial court power to “re-

place a juror with an alternate juror,” which this Court reviews for “abuse

of discretion.” United States v. Nelson, 102 F.3d 1344, 1349 (4th Cir.

1996). That discretion is abused in two circumstances that are pertinent

here. The first is when a court “decid[es] to dismiss” a juror “with neither

[the defendant] nor his lawyer present,” thus violating the defendant’s

Fifth Amendment “‘right to be present at all stages of the trial where his

absence might frustrate the fairness of the proceedings.’” United States


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v. Runyon, 707 F.3d 475, 517 (4th Cir. 2013) (quoting Faretta v. Califor-

nia, 422 U.S. 806, 819 n.15 (1975)). The second is when a court dismisses

a juror based on “doubts [she] harbors about the sufficiency of the gov-

ernment’s evidence,” thus violating the defendant’s Sixth Amendment

right to “a unanimous verdict” by an “impartial jury.” United States v.

Brown, 823 F.2d 591, 595-96 (D.C. Cir. 1987).

     By discharging Juror #88 outside the presence of Laffitte and his

counsel, the district court violated his rights in both respects. Laffitte

objected as soon as the judge informed the parties that he had replaced

Juror #88

                                                     JA2282. Both errors

are apparent from the record and the judge’s in camera interview. Each

independently requires a new trial.


A.   The replacement of Juror #88 violated Laffitte’s right to be
     present at all stages of trial

      “[T]he Due Process Clause guarantees a defendant the ‘right to be

present at all stages of the trial where his absence might frustrate the

fairness of the proceedings.’” Runyon, 707 F.3d at 517 (quoting Faretta,

422 U.S. at 819 n.15). By mandating that the defendant “be present at



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. . . every trial stage,” Federal Rule of Criminal Procedure 43(a)(2) “en-

shrines an even broader right.” Id. This Court has “extended” these re-

quirements to this specific context, holding that defendant and counsel

must both be “present when the district court decided to excuse and re-

place a juror.” Id. (citing United States v. Hanno, 21 F.3d 42, 46-47 (4th

Cir. 1994)). The district court did not contest any of these propositions,

and instead defended its decision on the false premise that Laffitte had

“agreed” to waive these rights through a procedure that entailed the re-

moval of Juror #88 without him or counsel present—and, indeed, that

entailed them not even being informed, ahead of her removal, what her

in camera interview had revealed. JA2410.

     That is not a tenable reading of the record, and it is not a tenable

understanding of how the Constitution works. The Supreme Court has

explained that “[w]aivers of constitutional rights” must be “voluntary”

and “knowing.” Brady v. United States, 397 U.S. 742, 748 (1970). This

Court therefore “‘presume[s] that a defendant did not waive his rights.’”

United States v. Johnson, 400 F.3d 187, 197 (4th Cir. 2005) (quoting

North Carolina v. Butler, 441 U.S. 369, 373 (1979)). When “a fundamen-

tal right such as the right to be present at jury selection is at issue,” the



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Fifth Circuit has held, “there is a long-standing presumption against

waiver.” United States v. Thomas, 724 F.3d 632, 643 (5th Cir. 2013).

     Far from demonstrating that Laffitte waived his right to be present

when the district judge removed Juror #88, this record demonstrates the

opposite. The district court never addressed Laffitte directly or asked him

to “participate personally in the waiver,” a step that was required in light

of the importance of the “right at stake.” United States v. Olano, 507 U.S.

725, 733 (1993). Moreover, when the district judge sought and obtained

“consent” from counsel regarding the interview of Juror #88, what he un-

ambiguously sought and received was, in his own words, “consent of the

parties for me creating a record to question the juror.” JA2279 (empha-

sis added). The judge unquestionably never asked for, and never ob-

tained, the parties’ consent to replace her without notice to—and outside

the presence of—the defendant and his counsel.

     The record allows no other conclusion. In the moments leading up

to the judge asking for the parties’ consent to the actions he said he would

take, the subject of discussion was the juror who was accused of being

unwilling to deliberate. The judge told the parties he would be seeking

their “consent” to ask questions of and “create a record” with that juror:



                                    46
     THE COURT: … I will need -- with the consent of the parties,
     we are going to set up a place where I will take a court re-
     porter, and without anyone present but the court reporter, I
     will create a record. And with my deputy and my court re-
     porter, I will ask the juror if there’s a problem.

JA2279. The Government then immediately suggested doing the “same

thing” with the juror “who’s reporting being anxious”:

     MS. LIMEHOUSE: Your Honor, we would request that you
     maybe do the same thing with the juror who’s reporting being
     anxious. There could be a contribution. This sort of environ-
     ment could be contributing to the anxiety that could be allevi-
     ated depending on how you decide to handle the jurors.

JA2279. The judge’s immediate response was:

     THE COURT: Do I have the consent of the parties for me cre-
     ating a record to question the juror?

JA2279. It was in response to this request that the Government and

Laffitte answered, “Yes.” JA2279. The request was, by its terms, for the

parties’ consent to “creating a record to question the juror.” JA2279 (em-

phasis added). It was not for their consent to replace her—and certainly

not for their consent to do so without first informing them what she had

said and soliciting their views.

     Nothing that preceded or followed this request suggested that

Laffitte was waiving his rights in the way the district court later main-

tained. In denying the motion for a new trial, the district judge focused


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on his own statement, as he was leaving the courtroom, that he was “go-

ing to take action.” JA2281. The judge concluded that Laffitte had thus

“plainly agreed” that he would “‘take action’ on the juror’s request to

be replaced.” JA2410 (emphasis added). But that is not, plainly or oth-

erwise, what was said. The words “take action” were spoken by the judge,

but the words “on the juror’s request to be replaced” plainly were not.

JA2281.

     The district court also suggested that Laffitte was at fault for not

having “asked for clarification” about what “action” the judge planned to

“take.” JA2401. But just the opposite is true. Ambiguities are construed

against waivers of criminal defendants’ rights, not in their favor. As the

D.C. Circuit has ruled, “the law demands clarity when constitutional

rights are waived.” United States v. Moreno-Membache, 995 F.3d 249, 251

(D.C. Cir. 2021). This Court thus refuses to “interpret an ambiguity

caused by the Government to be a waiver” of “the right to counsel.” John-

son, 400 F.3d at 197. This Court likewise holds “‘the Government to a

greater degree of responsibility than the defendant’ for any ‘impreci-

sions’” in the terms through which defendants waive their right to trial

in plea agreements. United States v. Petties, 42 F.4th 388, 397 (4th Cir.



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2022) (quoting United States v. Harvey, 791 F.2d 294, 300 (4th Cir.

1986)). If the district judge believed that his statements would effectuate

this waiver of Laffitte’s Fifth Amendment rights, it was incumbent on

him to make that clear.

     Because he did not, the district court was compelled to declare a

mistrial and grant Laffitte a new trial. “Any” violation of a defendant’s

right to be present at trial, this Court has long held, “mandates a new

trial” unless “‘the record completely negatives any reasonable possibility

of prejudice.’” United States v. Arriagada, 451 F.2d 487, 488 (4th Cir.

1971) (quoting Jones v. United States, 299 F.2d 661, 662 (10th Cir. 1962)).




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B.   The replacement of Juror #88 also violated Laffitte’s right
     to a unanimous and impartial jury

     The Sixth Amendment right to a trial “by an impartial jury” also

stands as a critical safeguard of the liberty of innocent criminal defend-

ants. U.S. CONST., amend. VI. One fundamental component is that the




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“jury must reach a unanimous verdict in order to convict.” Ramos v. Lou-

isiana, 140 S. Ct. 1390, 1395 (2020). Federal Rule of Criminal Procedure

31 enshrines the same requirement, providing that the “verdict must be

unanimous.” FED. R. CRIM. P. 31(a).

      Every Court of Appeals that has considered the matter has held

that, as a result, “a court may not dismiss a juror during deliberations if

the request for discharge stems from doubts the juror harbors about the

sufficiency of the government’s evidence.” Brown, 823 F.2d at 596; accord

United States v. Ozomaro, 44 F.4th 538, 544 (6th Cir. 2022); United

States v. Kemp, 500 F.3d 257, 303 (3d Cir. 2007); United States v. Abbell,

271 F.3d 1286, 1302 (11th Cir. 2001); United States v. Symington, 195

F.3d 1080, 1085 (9th Cir. 1999); United States v. Thomas, 116 F.3d 606,

621-22 (2d Cir. 1997); accord Nelson v. State, No. A23A1278, 2023 WL

8588658, at *3 (Ga. Ct. App. Dec. 11, 2023). The seminal D.C. Circuit

decision—authored by Judge Mikva and joined by Judge Bork and Judge

Douglas Ginsburg—called this proposition “scarcely debatable,” reason-

ing that “[i]f a court could discharge a juror on the basis of such a request,

then the right to a unanimous verdict would be illusory.” Brown, 823 F.2d

at 596. The Sixth Circuit more recently explained that this principle was



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“among the substantive ‘requirements’ ‘carried’” at the Founding “‘with’

the public meaning of ‘the term “trial by an impartial jury.”’ Wofford v.

Woods, 969 F.3d 685, 704 (6th Cir. 2020) (quoting Ramos, 140 S. Ct. at

1395).

     To the extent courts have expressed any disagreement about this

issue at all, it has been about not whether this rule exists, but what “ev-

identiary standard” is to be employed when it is enforced. Thomas, 116

F.3d at 622. Each of these courts has recognized that “the reasons under-

lying a request for a dismissal” by a juror “will often be unclear” because

the court must avoid “intrud[ing] on the secrecy of the jury’s delibera-

tions.” Brown, 823 F.2d at 596. The consequence is a strong presumption

against a juror’s dismissal, with some courts “slightly modif[ying]” only

the language about how strong the presumption must be. Kemp, 500 F.3d

at 303. Some decisions hold that the court must deny the request if the

record discloses “any possibility that the request to discharge stems from

the juror’s view of the” case. Brown, 823 F.2d at 596; Thomas, 116 F.3d

at 622. Other decisions clarify that the “possibility” needs to have been

“reasonable” or “substantial.” Ozomaro, 44 F.4th at 545-46; Kemp, 500

F.3d at 304; Symington, 195 F.3d at 1087; Abbell, 271 F.3d at 1302.



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     The Sixth Amendment precluded the district court from replacing

Juror #88 no matter which standard applies.




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     The judge’s perception that this juror was “emotionally very fragile”

and “could hardly speak to me” did not justify his failure to discharge this

duty. JA2283. As the Eleventh Circuit has suggested, trial judges must

take care to avoid “honestly misinterpreting” ordinary citizens who are

thrust into the stressful responsibilities associated with jury duty. United

States v. Brown, 996 F.3d 1171, 1193-94 (11th Cir. 2021) (en banc).




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                                                            In most cases

in which courts have found a reasonable possibility that a juror’s request




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to be removed was tied to her doubts about the Government’s case, “the

convictions were reversed without discussion.” United States v. Litwin,

972 F.3d 1155, 1175 (9th Cir. 2020). But the obvious prejudice to Laffitte

makes his entitlement to a new trial clear. For this reason as well, the

district court’s failure to order a new trial should be reversed.

II.   The district court erred when it replaced Juror #93,
      whose notes said she needed an antibiotic and was
      feeling “pressured to change my vote”
      The district court’s dismissal of Juror #93 stands as an independent

reason to reverse. After the judge announced that he had “replaced” the

“juror regarding the medicine,” Laffitte’s counsel stated, “We agreed with

that at the time,” which the district court later suggested amounted to a

“waiver” of Laffitte’s rights in this respect. JA2283; JA2408. But that re-

mark did not have that effect, for a number of reasons. First, despite what

counsel said, the record does not, in fact, reflect any prior “agree[ment]”

by Laffitte or his lawyers to the dismissal of Juror #93. JA2283. Second,

because the district judge never addressed Laffitte directly after receiv-

ing the juror notes, the record reflects no suggestion he “participate[d]

personally in” any purported waiver, which would have been necessary

to make it effective due to the Fifth and Sixth Amendment “right[s] at


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stake.” Olano, 507 U.S. at 733. Third, in light of this juror’s statement

that she was feeling pressured to change her vote, any such agreement

at that stage would have been an “egregious and prejudicial” error by

Laffitte’s lawyers that denied their client effective assistance of counsel

and thus would not be binding on him. Murray v. Carrier, 477 U.S. 478,

496 (1986).




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A.   The testimony of Juror #93 on these matters is admissible




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B.    The replacement of Juror #93 was error that independently
      requires reversal

      Because counsel’s after-the-fact and erroneous statement of

“agree[ment]” did not mark Laffitte’s “‘intentional relinquishment or

abandonment of a known right,’” the district judge’s removal of Juror #93

independently requires reversal. Olano, 507 U.S. at 733 (quoting John-

son v. Zerbst, 304 U.S. 458, 464 (1938)). To the extent counsel was simply

mistaken in representing to the judge that they previously had “agreed

with that at the time”—or, in the alternative, to the extent counsel actu-

ally had agreed to that replacement—the “objective[ly]” obvious error in

that concession and “prejudice” Laffitte would suffer from it would mean

that any such “agree[ment]” could not be attributed to him. Cf. United

States v. Mikalajunas, 186 F.3d 490, 493 (4th Cir. 1999) (discussing pro-

cedural default due to counsel error in the habeas context).




      In these circumstances, the law could not fault Laffitte for his coun-

sel’s failure to affirmatively object, so the district court’s errors in replac-

ing Juror #93 should require reversal and be subject only to harmless-


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error review under Chapman v. California, 386 U.S. 18, 24 (1967). But

even assuming that counsel’s lack of an objection required this Court to

apply “Olano’s plain error standard” instead, that standard would re-

quire reversal as well. Runyon, 707 F.3d at 518.

     The district court’s error in replacing this juror was “plain” in three

different respects. Olano, 507 U.S. at 734 (quoting FED. R. CRIM. P. 52(b)).

First, Federal Rule of Criminal Procedure 24(c) allows courts to replace

jurors only when they are “unable to perform” or “disqualified from per-

forming their duties”

                                  . FED. R. CRIM. P. 24(c)(1). Second, this

Court’s longstanding precedent extended Laffitte’s Fifth Amendment

right to be present to the proceedings in which “the district court decided

to excuse and replace” Juror #93. Runyon, 707 F.3d at 517; see supra at

44-45. Third, no in camera interview was even necessary to demonstrate

a substantial “possibility that” Juror #93’s communications to the district

judge related to her “view of the sufficiency of the government’s evi-

dence.” Brown, 823 F.2d at 596; see supra at 50-53. Once her note in-

formed the judge that she was “feeling pressured to change my vote,” the




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Sixth Amendment required him to keep this jury intact. The judge’s fail-

ure to account for that statement is evident from his incorrect assessment

that the note he received next, expressing several other jurors’ concerns

about the state of deliberations, “raise[d] an entirely different issue.”

JA2272. No less than that note or the note he subsequently would receive

from Juror #88, Juror #93’s note demonstrated that the disagreements in

the jury room were over the merits of the case.

     These constitutional violations “affect[ed]” Laffitte’s “substantial

rights.” Olano, 507 U.S. at 734 (quoting FED. R. CRIM. P. 52(b)). As was

true of Juror #88, Laffitte’s and his lawyers’ presence at the time of Juror

#93’s dismissal would have yielded information showing that she should

not have been sent home



                                                                           .

The reconstituted jury’s rapid return of guilty verdicts following her dis-

missal leaves no doubt that these errors “affected the outcome of” these

“district court proceedings.” Olano, 507 U.S. at 734.

     So, too, did those circumstances “seriously affect the fairness, integ-

rity or public reputation of judicial proceedings.” Olano, 507 U.S. at 736.



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The Supreme Court has held that an error may satisfy that test even

“independent of the defendant’s innocence,” but in this case the link be-

tween these constitutional violations and the jury’s verdict is direct. Id.

As the Second Circuit has held, “removal of the sole holdout for acquittal

is an issue at the heart of the trial process and must be meticulously

scrutinized.” United States v. Hernandez, 862 F.2d 17, 23 (2d Cir. 1988).

That scrutiny, as applied to this extraordinary case, requires reversal

here.

III. The district court erred when it excluded evidence
     demonstrating Government witnesses’ bias

        The district court also erred when it precluded Laffitte from offering

evidence that supported his defense during trial. The Government called

four of the bank’s board members to testify, asking each whether they

had voted to terminate Laffitte. JA368; JA682-684; JA1092-1093;

JA1164-1165. When Laffitte presented his defense, counsel attempted to

ask other board members about the “new Board members, family mem-

bers that came in, and” how “they started moving toward trying to sell

the bank.” JA1556. Counsel also attempted to offer a memorandum

Laffitte’s father had written to the board, responding to several members’



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professed belief that “we should position the bank to sell” and warning

that “desiring to sell the bank is contrary to our mission statement.”

JA3300; JA1688. When the Government objected, defense counsel told

the Court that this evidence was relevant to those witnesses’ “bias”

against Laffitte, who was aligned with his father, and their “motive for

testifying” against him. JA1676.

     The district judge barred Laffitte from eliciting this testimony on

two grounds: that it was impeachment Laffitte was “trying to prove . . .

by extrinsic evidence,” and that the testimony was irrelevant and could

confuse the jury. JA1680; JA1686. The first ground marked an erroneous

conclusion of law this Court should review de novo, and the second

marked a straightforward abuse of discretion.

     In this context, the district judge’s reasoning that “you can’t be im-

peaching with extrinsic evidence” was erroneous. JA1557. This Court has

made an important “distinction” between “impeachment of general cred-

ibility” on the one hand and “impeachment evidence proving bias” on the

other. Quinn v. Haynes, 234 F.3d 837, 845 (4th Cir. 2000). While “gener-

ally applicable evidentiary rules limit inquiry into specific instances of

conduct through the use of extrinsic evidence, . . . no such limit applies



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to credibility attacks based on motive or bias.” Id. The Supreme Court

has elaborated that “[t]he ‘common law of evidence’ allowed the showing

of bias by extrinsic evidence.” United States v. Abel, 469 U.S. 45, 52

(1984). The law thus gave Laffitte free rein to offer evidence that the bank

directors had been motivated to testify against him—and, previously, had

voted to remove him—based on their disagreements as to whether the

bank should be sold.

     The district court’s ruling that this evidence was “irrelevant” and

would “produce jury confusion” also was contrary to the law. JA1686.

“One of the most important factors affecting credibility,” this Court has

reasoned, “is the presence of any bias, prejudice or incentive on the part

of a witness to favor one party to the litigation.” Chavis v. North Carolina,

637 F.2d 213, 225 (4th Cir. 1980). The Supreme Court has thus held that

“[p]roof of bias is almost always relevant because the jury, as finder of

fact and weigher of credibility, has historically been entitled to assess all

evidence which might bear on the accuracy and truth of a witness’ testi-

mony.” Abel, 469 U.S. at 52.

     This case is no exception to that rule. The Government made a point

of calling every board member who had vote to terminate Laffitte, asking



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what their vote had been and why. JA368; JA682-684; JA1092-1093;

JA1164-1165. One of those witnesses, Laffitte’s cousin Norris, claimed

among other things that Laffitte had “lied.” JA368. The very last question

the Government chose to ask during its cross-examination of Laffitte’s

father was, “Isn’t it true that you and your daughter were the only mem-

bers of the Board who didn’t vote for his termination?” JA1652. Having

made those votes a central part of this case—and having accused

Laffitte’s father, via that final question, of himself being biased in his

son’s favor—the Government could not colorably maintain that the jury

should not be allowed to hear reasons that could have motivated its wit-

nesses to testify against Laffitte as they did.

     This error was “prejudicial to” Laffitte’s “right to a fair trial and

therefore a basis for reversal.” United States v. Turner, 198 F.3d 425, 430

(4th Cir. 1999). If the Court also reverses due to the removal of the jurors,

it should instruct the district court that it cannot preclude Laffitte from

offering evidence of these Government witnesses’ biases and motives dur-

ing the new trial.




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IV. The district court erred when it denied Laffitte’s mo-
    tion for judgment of acquittal on Counts 2 and 3

     Finally, the district court erred in denying Laffitte’s motion for

judgment of acquittal on Counts 2 and 3, the bank- and wire-fraud

counts, a ruling this Court reviews de novo. United States v. Millender,

970 F.3d 523, 528 (4th Cir. 2020). These two counts were premised on a

common factual nucleus: $101,369.49 and $33,789.83 Murdaugh had his

firm withdraw from Badger’s settlement funds in the latter part of 2013,

in checks made payable to Palmetto State Bank, which he then distrib-

uted for personal purposes via bank transactions that went through

Laffitte. In determining whether the district court erred in denying a

judgment of acquittal, this Court asks “whether, after viewing the evi-

dence in the light most favorable to the prosecution, any rational trier of

fact could have found the essential elements of the crime beyond a rea-

sonable doubt.” Id. at 528 (emphasis removed). No rational trier of fact

could have found these crimes’ essential elements beyond a reasonable

doubt because there was no evidence that Laffitte committed a “fraud”

relating to these transactions.

     The critical common element of both crimes is that the defendant

must have effectuated prohibited transactions “by means of false or

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fraudulent pretenses, representations, or promises.” 18 U.S.C. § 1343

(wire fraud); 18 U.S.C. § 1344(2) (bank fraud). Interpreting the bank-

fraud statute, the Supreme Court has reasoned that the phrase “by

means of” creates “a relational component” to the charge, which requires

“the defendant’s false statement” to be “the mechanism naturally induc-

ing a bank (or custodian) to part with its money.” Loughrin v. United

States, 573 U.S. 351, 362-63 (2014). As applied to the wire-fraud statute,

that logic also means the defendant’s “false or fraudulent pretenses, rep-

resentations, or promises” need to have naturally caused the defrauded

person, via wire transmission, to hand over their money. 18 U.S.C.

§ 1343.

     The Government offered no evidence suggesting that Laffitte made

these transactions happen “by means of” fraud. 18 U.S.C. § 1343; 18

U.S.C. § 1344(2). As to these transactions, it was not alleged that Laffitte

pretended he was someone else or made any statement that was false. It

was instead alleged that he negotiated a customer’s checks, which his

customer had delivered and made payable to the bank, and had the funds

distributed as his customer directed.




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      That is not fraud—and, correspondingly, not a violation of either of

these statutes. It is no doubt true that, as everyone later learned, the

checks were from funds Murdaugh had stolen from his clients. But even

if the Government had shown that Laffitte was somehow complicit in

those thefts—and, to be clear, he always has steadfastly maintained that

he was not—this Court has explained that “‘theft’ and ‘fraud’” are not the

same, and instead have “key differences.” Soliman v. Gonzales, 419 F.3d

276, 282 (4th Cir. 2005). “Theft” is the taking of another person’s property

“without his consent.” Id. (quoting BLACK’S LAW DICTIONARY 1647-48 (4th

ed.1951)). “Fraud,” on the other hand, is using a falsehood to induce

someone into “voluntarily surrender[ing]” their property. Id. (quoting

BLACK’S LAW DICTIONARY 788 (4th ed.1951)). “The key and controlling

distinction between these two crimes is therefore the ‘consent’ element—

theft occurs without consent, while fraud occurs with consent that has

been unlawfully obtained.” Id. The Government provided no evidence

that Laffitte’s alleged acts fell within that latter definition.

      The Government’s response during trial made no sense. It argued

that “the heart of this is really under false pretenses” and that “because

of his role as the personal representative for the estate of Donna Badger,



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it put him in a position where he was able to steal the money.” JA1475.

The district court, for its part, suggested that the email Laffitte sent at

Murdaugh’s request, asking him to have the law firm’s CFO “re-cut” the

$1.325 million check into the four smaller checks, amounted to a “false

and fraudulent pretense or representation” for these purposes. JA2430.

Both those theories have multiple problems.

     The first is that neither the $1.325 million check addressed by the

district court, nor the $101,369.49 and $33,789.83 checks at issue in

Counts 2 and 3, were from funds belonging to the estate of Donna Badger.

They were from funds belonging to Donna’s husband, Arthur. Laffitte

was not personal representative—or anything else—for him. See supra

at 10.

     The Government, moreover, offered no evidence to support its the-

ory that Laffitte’s role as personal representative for Donna Badger “put

him in a position where he was able to” induce the law firm into with-

drawing Arthur’s funds. JA1475. The firm’s CFO testified that when the

firm’s administrators wrote checks at Murdaugh’s request, they did so

“under the authority of the attorney on the case and the trust we had for

the attorney in the case.” JA527. She would “have re-cut the checks,” she



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confirmed in response to the Government’s question, “even if [Murdaugh]

had just told [her] to do it.” JA527. And the Government presented no

evidence that Laffitte was involved with the firm’s preparation of the

$101,369.49 and $33,789.83 checks that were the subject of Counts 2 and

3. Those two checks were not issued when the firm “re-cut” the $1.325

million check in the early part of 2013 after the emails between Mur-

daugh and Laffitte, but instead later that year. See supra at 13.

     Counts 2 and 3 thus never should have been before a jury. A judg-

ment of acquittal should follow, and any new trial must be limited to the

other counts in the Second Superseding Indictment.

                           CONCLUSION
     Laffitte is innocent. The district court erred in excluding evidence

crucial to his defense, in allowing Counts 2 and 3 to go to the jury, in

improperly replacing the jurors during deliberations, and in denying the

motions for a new trial. This Court should reverse the district court’s

judgment and remand for a new trial with instructions, and should enter

a judgment of acquittal on Counts 2 and 3.




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                                   Respectfully submitted,

                                   s/ William W. Wilkins

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     This brief complies with the applicable type-volume limitation.

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of 15,000 words set by this Court’s order on December 20, 2023.

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     On December 27, 2023, I served the sealed version of this brief on

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I served the redacted version of this brief on counsel for the United States

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corrected versions of this brief on counsel for the United States.



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